              Case 2:17-cr-00234-TLN Document 142 Filed 03/26/20 Page 1 of 3


     The Law Office of Olaf W. Hedberg
1    Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 301
2    Sacramento, California 95814
     (916) 447-1192 office
3    ohedberg@yahoo.com
4

5

6

7

8
          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
9
                                               CALIFORNIA
10

11

12                                                     Case Number: 2:17-CR-234 TLN
     THE UNITED STAES OF AMERICA,
13                                                     STIPULATION AND ORDER
     V.
14                                                     DATE: April 2, 2020
     PATRICK BOTELLO,                                  TIME: 9:30 am
15                                                     DEPT: TLN
16

17

18
                                              STIPULATION
19
     1. At the previous Status Conference, this matter was set for status/change of plea on April 2,
20
     2020.
21
     2. By this stipulation, defendants now move to continue the status conference until June 4, 2020,
22
     at 9:30 a.m., and to exclude time between April 2, 2020, and June 4, 2020, under Local Code T4.
23
     3. The parties agree and stipulate, and request that the Court find the following:
24

25


                                                      1
       Case 2:17-cr-00234-TLN Document 142 Filed 03/26/20 Page 2 of 3



1    a) The government has represented that the discovery associated with this case includes

2    over 14,000 pages and several hours of recorded telephone conversations. All of this

3    discovery has been produced directly to counsel.
4    b) Defense counsel desires additional time to review the discovery, prepare for trial in
5    this matter.
6    c) Counsel for defendants believe that failure to grant the above requested continuance
7    would deny them the reasonable time necessary for effective preparation, taking into
8    account the exercise of due diligence.
9
     d) The government does not object to the continuance.
10
     e) Based on the above-stated findings, the ends of justice served by continuing the case as
11
     requested outweigh the interest of the public and the defendant in a trial within the
12
     original date prescribed by the Speedy Trial Act.
13
     f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
     seq., within which trial must commence, the time period of April 2, 2020, to June 4,
15
     2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
16
     [Local Code T4] because it results from a continuance granted by the Court at
17
     defendant’s request on the basis of the Court’s finding that the ends of justice served by
18
     taking such action outweigh the best interest of the public and the defendant in a speedy
19
     trial.
20
     4. Nothing in this stipulation and order shall preclude a finding that other provisions of
21
     the Speedy Trial Act dictate that additional time periods are excludable from the period
22
     within which a trial must commence.
23

24

25


                                               2
             Case 2:17-cr-00234-TLN Document 142 Filed 03/26/20 Page 3 of 3



1    IT IS SO STIPULATED.

2

3

4
     Dated: March 24, 2020                           MCGREGOR W. SCOTT
5
                                                     United States Attorney
                                                     /s/ JUSTIN L. LEE
6                                                    JUSTIN L. LEE
                                                     Assistant United States Attorney
7

8

9    Dated: March 24, 2020                           ___/s/ Olaf W. Hedberg
                                                         Olaf W. Hedberg
10                                                   Attorney for Patrick Botello
11

12
                                 FINDINGS AND ORDER
13

14
     IT IS SO FOUND AND ORDERED.
15
     Dated: March 26, 2020
16
                                                   Troy L. Nunley
                                                   United States District Judge
17

18

19

20

21

22

23

24

25


                                           3
